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TONI SWANIGAN, LILLIE MAE
McGHEE-ALEXANDER, SHERRY MOORE,
JACQUELINE BROOKS, DARRELL MACKEY, and
ANISSA T. SWANIGAN for themselves and

all persons similarly situated,

Plaintiffs,
v. Civil Action No.: 04-2937 B/P
Jury Trial Demanded
NORTHWEST AIRLINES, INC.,

Defendant.

 

[-PR(;HS'EDT ORDER GRANTING PLAINTIFFS’ CONSENT MOTION FOR
EXTENSION OF TIME TO RESPOND TO MOTION TO STAY DISCOVERY
PENDING A RULING BY THE COURT ON NORTHWEST’S MOTION FOR
JUDGMENT ON TI-IE PLEADINGS WITH RESPECT TO PLAINTIFFS’ CLASS
ACTION ALLEGATIONS

 

By consent of the parties and for good cause shown, the Court grants plaintiffs an
extension of time up to and including June 13, 2005, to respond to defendant’s motion to stay
discovery pending a ruling by the Court on Northwest’s motion for judgment on the pleadings

With respect to plaintiffs’ class action allegations

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/C:;&…

UNITED STATES MAGISTRATE J l_l k

  

 

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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

